

People v Williams (2019 NY Slip Op 06420)





People v Williams


2019 NY Slip Op 06420


Decided on August 28, 2019


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 28, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

WILLIAM F. MASTRO, J.P.
REINALDO E. RIVERA
RUTH C. BALKIN
VALERIE BRATHWAITE NELSON, JJ.


2005-11980
 (Ind. No. 1714/03)

[*1]The People of the State of New York, respondent,
vKevin Williams, appellant.


Kevin Williams, Auburn, NY, appellant pro se.
John M. Ryan, Acting District Attorney, Kew Gardens, NY (John M. Castellano and Antara D. Kanth of counsel), for respondent.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated September 16, 2008 (People v Williams, 54 AD3d 886), affirming a judgment of the Supreme Court, Queens County, rendered November 29, 2005.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
MASTRO, J.P., RIVERA, BALKIN and BRATHWAITE NELSON, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








